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Attorney for Plaintiff



                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA

WANDA SEVERSON,

                         Plaintiff,

vs.                                                     Case No. 3:12-cv-00025-SLG

UNITED STATES OF AMERICA,

                         Defendant.

                      AMENDED COMPLAINT FOR DAMAGES

For her complaint, Plaintiff, through counsel Christine Schleuss, alleges as follows:

       Parties and Jurisdiction

       1.       This action arises under the Federal Tort Claims Act, 28 U.S.C. § 2671 et

seq. Jurisdiction is based on 28 U.S.C. § 1346(a) (2) and 1346(b). Venue in this district

is authorized by 28 USC § 1402(b).

       2.       In Claim No. 10-0435, Severson filed a timely administrative claim based

on the facts alleged below to the Department of Health & Human Services. In a letter

dated August 2, 2011, the Department denied Severson’s claim and gave her six months

to file suit against the United States in federal district court.


                                       -1-
            Case 3:12-cv-00025-SLG Document 10 Filed 05/22/12 Page 1 of 5
       3.       At the time of the conduct that forms the basis of Severson’s complaint, she

was a patient receiving health services from the Alaska Native Medical Center (ANMC),

4315 Diplomacy Drive, Anchorage, Alaska. The ANMC was carrying out a compact

agreement with the Indian Health Service, and is deemed to be part of the Indian Health

Service in the Department of Health and Human Services of the United States of America

pursuant to Public Law 101-512, Title III, section 314. Health care providers at the

ANMC are employees of the United States for purposes of liability under the FTCA if

they are employees of the ANMC, acting within the scope of their employment and are

carrying out the compact with the IHS at the time of the acts giving rise to the complaint.

                               Common Factual Allegations

       4.       The plaintiff is Wanda Severson (DOB: 2/13/1962), a resident of the State

of Alaska who was entitled to receive medical care from the Indian Health Service and

entities that compact with the IHS, including the ANMC.

       5.       On or about July 23, 2008, the ANMC employed Dr. Brian A. Trimble as a

neurologist. The ANMC was responsible for hiring, retaining, training, and supervising

Dr. Trimble as well as other health care providers who provided services to Severson. At

all times relevant to this complaint, the employees of the ANMC who are alleged to have

acted in a negligent manner were acting within the scope of their employment and were

also carrying out the ANMC’s compacts with the IHS.

       6.       Dr. Trimble was evaluating Severson for diplopia, or double vision.

       7.       Dr. Trimble administered what he described as a “Tensilon test.”

       8.       Dr. Trimble first administered a test dose of 1 mg. of neostigmine.


                                       -2-
            Case 3:12-cv-00025-SLG Document 10 Filed 05/22/12 Page 2 of 5
       9.       Dr. Trimble then added another 7 mg. dose of neostigmine.

       10.      Dr. Trimble should have administered Tensilon to Severson, not

neostigmine.

       11.      Dr. Trimble’s eight mg. of neostigmine constituted an approximate sixteen

       times over-dose of medication.

       12.      Severson’s adverse reaction to the neostigmine over-dose included lowered

heart rate and blood pressure, dizziness, copious salivation, heart palpitations, severe

respiratory distress, cyanotic, gross audible rales, seizure, and loss of urinary control and

consciousness.

       13.      Hospital staff attending to Severson alerted emergency Code Blue.

       14.      Severson, in serious condition, was transferred to the Intensive Care Unit

where she was placed on a cardiac monitor.

       15.      Since her neostigmine overdose, Severson has suffered from seizures,

headaches, double vision, dizziness, and shaking.

       16.      Since her neostigmine overdose, Severson no longer reads for pleasure,

rides a 4-wheeler, or hunts.

                        First Claim for Relief: Medical Malpractice

       17.      Plaintiff incorporates by reference all prior allegations.

       18.      Dr. Trimble’s incorrect use of neostigmine, and in a dosage that was nearly

lethal, conducted as an employee of the ANMC, through the Department of Health and

Human Services, an agency of the United States, breached the duty of medical care owed

to Severson and constituted medical malpractice.


                                       -3-
            Case 3:12-cv-00025-SLG Document 10 Filed 05/22/12 Page 3 of 5
       19.    As a direct and proximate result of Dr. Trimble’s medical malpractice,

Severson suffered past and future damages, including but not limited to physical injury,

severe emotional distress, pain and suffering, inconvenience, loss of enjoyment of life,

and other economic and non-economic losses, and other such damages as permitted by

law, in an amount to be proven at trial.

                          Second Claim for Relief: Negligence

       20.    Plaintiff incorporates by reference all prior allegations.

       21.    Other personnel (including but not limited to other health care providers,

supervisors and administrators) employed by the ANMC, through the Department of

Health and Human Services, an agency of the United States, breached the applicable

standards of care and were negligent in providing medical care to Severson.

       22.    As a direct and proximate result of the negligence of the defendant as

described above, Severson suffered past and future damages, including but not limited to

physical injury, severe emotional distress, pain and suffering, inconvenience, loss of

enjoyment of life, and other economic and non-economic losses, and such other damages

as permitted by law, in an amount to be proven at trial.

          Third Claim for Relief: Negligent Infliction of Emotional Distress

       23.    Plaintiff incorporates by reference all prior allegations.

       24.    Other personnel (including but not limited to other health care providers,

supervisors and administrators) employed by the ANMC, through the Department of

Health and Human Services, an agency of the United States, negligently failed to insure

that employee Dr. Trimble possessed that degree of knowledge and skill ordinarily


                                    -4-
         Case 3:12-cv-00025-SLG Document 10 Filed 05/22/12 Page 4 of 5
possessed and exercised at the time by other health care providers in the field or specialty

in which they were practicing.

         25.      As a direct and proximate result of the negligence of the defendant

described above, Plaintiff suffered past and future damages, including but not limited to

physical injury, severe emotional distress, pain and suffering, inconvenience, loss of

enjoyment of life, and other economic and non-economic losses, and such other damages

as permitted by law, in an amount to be proven at trial.

                                         PRAYER FOR RELIEF

         WHEREFORE Plaintiff demand judgment for compensatory damages not to

exceed $500,000, the precise amount to be proven at trial, plus allowable costs, interest,

and attorneys’ fees.

         RESPECTFULLY SUBMITTED this ____ day of May, 2012.

                                               LAW OFFICE OF CHRISTINE SCHLEUSS

                                               /s/ Christine Schleuss
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CERTIFICATE OF SERVICE
I hereby certify that on May 22, 2012,
a true copy of the foregoing AMENDED
COMPLAINT FOR DAMAGES was
served via electronic service on:

Gary M. Guarino @ gary.guarino@usdoj.gov

/s/ Christine Schleuss



                                      -5-
           Case 3:12-cv-00025-SLG Document 10 Filed 05/22/12 Page 5 of 5
